Case 2:23-cv-02805-MEMF-MRW     Document 23   Filed 07/05/23   Page 1 of 4 Page ID
                                     #:130




 1   Cory A. Baskin (SBN 240517)
 2   cb@witkowlaw.com
     witkow | baskin
 3   21031 Ventura Boulevard, Suite 700
 4   Woodland Hills, California 91364
     Tel: 818.296.9508
 5

 6   Attorneys for Defendants
     Mayur Deepak Patil, Furor Media LLC,
 7   Crunch Media, LLC, & Travly, Inc.
 8
 9
                          UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11

12

13   10PM CURFEW, LLC, a California     ) Case No. 23-cv-02805-MEMF-MRW
     Limited Liability Company,         )
14                                      )
                                        ) Assigned to the Hon. Maame Ewusi-
15                    Plaintiff,        ) Mensah Frimpong
                                        )
16                                      ) DECLARATION OF CORY A. BASKIN IN
            v.                          )
17                                      ) SUPPORT OF DEFENDANTS’ MOTION
     MAYUR DEEPAK PATIL; FUROR          ) TO STAY, OR IN THE ALTERNATIVE
18                                      ) TRANSFER, OR IN THE ALTERNATIVE
     MEDIA, LLC, a Tennessee Limited    ) DISMISS COMPLAINT
19   Liability Company; CRUNCH MEDIA, )
     LLC, a Tennessee Limited Liability )
20                                      ) Hearing
     Company; TRAVLY, INC, a Bahamas ) Date: August 24, 2023
21   Corporation                        ) Time: 10:00 a.m.
                                        )
22                                      ) Place: Courtroom 8B (*Request for
                      Defendants.       )        Zoom hearing anticipated to be
23                                      )        filed by moving party)
                                        )
24                                      )
                                        ) Complaint Filed: April 14, 2023
25                                      ) Trial Date:        None Set
                                        )
26                                      )
                                        )
27

28
                           DECLARATION OF CORY A. BASKIN
Case 2:23-cv-02805-MEMF-MRW         Document 23       Filed 07/05/23   Page 2 of 4 Page ID
                                         #:131




 1         I, Cory A. Baskin, declare as follows:
 2         1.     I am a practicing attorney at witkow | baskin, a member of the California
 3   State Bar since 2005 (SBN 240517), and counsel in this action for Defendants Mayur
 4   Deepak Patil (“Patil”), Furor Media, LLC (“Furor”), Crunch Media, LLC (“Crunch”),
 5   and Travly, Inc. (“Travly”) (collectively, “Defendants”). Based on my responsibilities
 6   and my own involvement in the facts and circumstances described below, I have
 7   personal knowledge of the facts set forth herein which I know to be true, except as to
 8   the matters that are stated on my information and/or belief, and as to those matters, I
 9   believe them to be true.
10         2.     Pursuant to L.R. 7-3 and this Court’s Civil Standing Order, I first reached
11   out to Jeffrey Cohen, counsel for Plaintiff 10PM Curfew, LLC (“10PM”), to meet and
12   confer regarding the instant Motion—or rather, ideally, in the hopes of avoiding the
13   necessity of filing the instant Motion—via a detailed email on June 14, 2023. In this
14   email, in addition to substantially setting forth the procedural and substantive basis for
15   this Motion, I also invited Mr. Cohen to meet and confer telephonically so that we could
16   engage in a real-time contemporaneous exchange on the issues. A true and correct copy
17   of my initial June 14 email to Mr. Cohen is included as part of the more fulsome email
18   chain attached hereto as Exhibit 1.
19         3.     On June 20, 2023, Mr. Cohen sent a response letter refuting the arguments
20   in my June 14, 2023 email and indicating that 10PM was not inclined to amend the
21   Complaint or agree to a stay of this action. A true and correct copy of Mr. Cohen’s letter
22   is attached hereto as Exhibit 2.
23         4.     On June 22, 2023, Mr. Cohen and I engaged in a lengthy—over 1 hour I
24   believe—telephonic meet and confer discussing the issues in detail. At the end of the
25   call, Mr. Cohen indicated that he would further discuss with his client the notion of
26   amendment to add further details regarding its claims, in particular more specificity
27   regarding the alleged trade secrets at issue and distinguishing factors between the nine
28   claims.
                                                  2
                                DECLARATION OF CORY A. BASKIN
Case 2:23-cv-02805-MEMF-MRW         Document 23       Filed 07/05/23   Page 3 of 4 Page ID
                                         #:132




 1         5.     On June 28, 2023, however, Mr. Cohen emailed me to advise that 10PM
 2   would not in fact be amending its Complaint, believing that all of the claims were
 3   sufficiently pled and invoked protectable trade secrets. I responded to Mr. Cohen via
 4   email the following morning (June 29, 2023) expressing my disappointment at this
 5   decision, providing further extensive factual details calling into question the allegations
 6   in the Complaint, and advising that, in light of these facts, 10PM’s continued
 7   prosecution of these claims would appear to be in faith. Mr. Cohen replied later that
 8   afternoon, reiterating his client’s refusal to amend, but (tellingly) without in any way
 9   refuting my client’s factual assertions. In this regard, seemingly without investigating
10   these facts, Mr. Cohen merely stated that a “12(b)(6) motion . . . is not an opportunity
11   for the defendants to argue the facts. . . [so] your unilateral challenge to the facts is
12   largely irrelevant.” A true and correct copy of these email exchanges are also part of the
13   email chain attached hereto as Exhibit 1.
14         6.     On July 2, 2023, prior to filing the instant Motion, in order to apprise this
15   Court of the status of the earlier-filed Indiana Action involving substantially the same
16   parties and issues, N.D. Ind. Case No. 4:23-cv-00016-JPK (the “Indiana Action”), I
17   accessed the docket for that matter via PACER and printed it to pdf. True and correct
18   copies of this docket, as well as Patil and Furor’s Complaint [ECF 1] and the parties’
19   respective briefs in connection with 10PM’s Motion to Dismiss in that action [ECF 22,
20   32, & 35] are attached as Exhibits 1 thru 5 to Defendants’ Request for Judicial Notice
21   (“RJN”) submitted concurrently herewith.
22         7.     In addition, prior to filing the instant Motion, I accessed the California
23   Secretary of State’s online business portal to review various official corporate records
24   filed by 10PM and maintained by the State of California. True and correct copies of two
25   such records—10PM’s August 17, 2022 Statement of Information and 10PM’s
26   December 22, 2022 Certificate of Cancellation—are attached as Exhibits 6 & 7 to
27   Defendants’ accompanying RJN.
28
                                                  3
                              DECLARATION OF CORY A. BASKIN
Case 2:23-cv-02805-MEMF-MRW         Document 23       Filed 07/05/23   Page 4 of 4 Page ID
                                         #:133




 1         I declare under penalty of perjury under the laws of the United States of America
 2   that the foregoing is true and correct.
 3         Executed on July 5, 2023, at Paso Robles, California.
 4                                                    /s/Cory A. Baskin
 5                                                       Cory A. Baskin

 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28
                                                  4
                              DECLARATION OF CORY A. BASKIN
